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                                                                                                                                                                                                                       Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: 18pcs Patches Shiny Spark Smiley Patch and Five-Pointed Star Sequin Kid Embroidered Patch Appliques Patches for Clothing Repairing Holes Jackets Hats Jeans Shoes Garment Decorations DIY Accessories

   URL
   https://www.amazon.com/18pcs-Smiley-Five-Pointed-Embroidered-Decorations/dp/B09D3JMC99/ref=sr_1_151

   Collection Date
   Wed, 26 Apr 2023 07:49:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   pLaF/JfcsENyr0GDzv58N2w5Oh2yZJOvR4NWAJ2TByknp/jnR1/t7PH3SXcxxlnUw16HLTQlVXCMqPD/B5Oh85dks8JZDZiaAB0k5Sm9EGQHtzHNDbtkHVtvgCbPrtJpyI12SpgmyKI8UGRwvygLS3110HHwZD9vCp8si1Rp1B8=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]18pcs-Smiley-Five-Pointed-Embroidered-Decorations[fs]dp[fs]B09D3JMC99[fs]ref=sr_1_151]]_Wed,-26-Apr-2023-07-49-33-GMT.pdf

   Hash (SHA256)
   9982c42947ce831b01e9c6f55990e7bcc230b62fa84823a26aec628ac875479d

   Signature (PKCS#1v1.5)
Wx+k+Un/tmPDWhf6izkcvbSgBj+Ao0sVwfCaujGNq06tQdT9wlutbgOMhpjiIEMieArIl+DWuq8CsTQpXKqWf1aM94/of2e2W+H5DvJhwfbfx7QfelOe5qkE2NoLkkuOgdCgeqyeBitP7v2e86DYwYMtkh/ppFsXacB7imKdWpo=
                                                                                 Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 2 of 40



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 01 Jun 2023 15:58:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VlY/8mOe6hr0fJVEKVDS77+TS87B1aZrfhXhS3hIJ9PBYnjtuQeYaRGGZdMhf0fpGMNoa7PCHvgwfKJSEjyAG9cHOeQRXYyXWAgKpeGfFZ0AdnNpwFX74BdnSMCB/76OKh0PsN9r0nXDix/xsluAeCSgy8eAGzUR0fD5aDl12OXraJJCpN1HyLgttHmXE1JbQu1RVpR2a/GSmftgN
   +3BZoN/6F9O0rCIQY7wH+j901EOARl2PTzASxekIOm751TPywVz4tBe0UnP1HMUyq8/Y6Pwkm9gu+vfeZDg1Y+kLedPJAbw/nQpzTfdz4MWcln+tLXxd6uPzOMJq6jbEe7Kiw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-01-Jun-2023-15-58-05-GMT.mhtml

   Hash (SHA256)
   74dddb2972e434c08482502b5a55a48799f808ff213164dab4256a7c1e15bcd5

   Signature (PKCS#1v1.5)
lmmMYzRWEOgzA1iDu3q+jEV47figvvdRoMKqCyuaGwQbHQ+pXBLWwi6Rmirt3xzks2LDBPPty+8pJa0VPYsoarnOIHFPdIM59tPeB/SvZVK0Rp9klsys83+aj6j3vkH0pYlTzXfXPcT/keA3bizHHHB75eHJ7Z2xRTw/28+32KJ+fI7qozJFAHX5nAe6Q1Pub4/j7W7JhSQZRHuhs/6lfW3z1PaWSk
+52152gPJ8MGcUjr5UP2nn0xVXhrKmgjXaVxgZqzVkldqkaYWSPjuHmXEm5Fp6uWCk1zYmgabScqdKBGFuqFNQPtocSU1ZvPvKXxLQ7z00TXUkK1uVWy0ZfQ==
                                                                                   Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 3 of 40



                                                                                                                                                                                                                                           Investigator Name: Sarah Christodoulou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com: Sunflower Flower Plush Pillow Smiling Face Sunflower Pillow Colorful Plush Pillow Reading Cushion Pillow Sofa Decoration Pillows Smiley Face Throw Pillows for Bed Home ( Color : Blue , Size : 16.5in ) : Home & Kitchen

   URL
   https://www.amazon.com/Sunflower-Smiling-Colorful-Reading-Decoration/dp/B0BYD3YB1X/ref=sr_1_201

   Collection Date
   Tue, 09 May 2023 09:38:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   rZPVD9HIbDefwj6vuKgPcFK3OU+ArLVaSWmutVGQwYC73R0ve/UFLdoRpNKTzc9mP4834gs8VW/QpAGUelUCqPFQ+DLJlAmUrYJ0dU1Myk2iEYIUmNBlWer9q9KXd5K5X8esJSJhl9s71OJ3LiAM39z5vMDQYSOv1B5W0n9VhJc=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Sunflower-Smiling-Colorful-Reading-Decoration[fs]dp[fs]B0BYD3YB1X[fs]ref=sr_1_201]]_Tue,-09-May-2023-09-38-07-GMT.pdf

   Hash (SHA256)
   2767a7e2a550b6b1add8b0abd530715fe1516aeddf12b3a493df8d75d4807a91

   Signature (PKCS#1v1.5)
OkIILooJgNIwI7NzJfHq00RwPRSviOUtGgTOqTvaJBYt6W6Qytsn4qCXIfuTbVAgdsQ8ya/R0/SesdFLwqqM0Y8b0NFz0FlneVrqxhYCFhFIIC6dAfN0omY41tjsOv8Wpza/7JnllQJZCkpuc7N3ZIFWHlplAAr9n5P8bw7PWCs=
                                                                                Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 4 of 40



                                                                                                                                                                                                       Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 05:38:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qfCHsNhFTwnAQsXDu7RT+aWujquzKXlztTuDKIZ/4a3CH8LQ0+a8OtzzSZQ7uuZoxCLp8v+iZ+fnozbFhfIalHKoDmamkEPucjLrHvpC11ZA2z7d/RU0j7381DoSzZ0Va21JnQGYlqdEkrZbb+cTfhFgLAcD48ycaOeT6D5ey5G7QvHtrjGIPUHIDqexW96Z/
   TxWoDJQqWWHL6oPCksWmCLjnFv519H6/JnvTCM1vpYJ0AuFgQ+QjGv6eKUd++9+w5zmZ+2L8E9yt4CPdHorjN+sE4WUHoVwGgrgAlAhpGT7j+qNBdTytLNySn3jR9gBP1cxEGYCwUzPjmGtTsCymg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-05-38-42-GMT.mhtml

   Hash (SHA256)
   e7827f083bcd608ee3fbe495ef4c73712ae8056a69699f39558965455708b786

   Signature (PKCS#1v1.5)
DnWmzzQmEzX7wCjywtnfwleC5pvr18CNvP9UoO2DMufasfixZHm1uEQ1v4N+GTf3jfGKjqNR6ihBHv8MNqhXan+whqXtRd5jsTJtzjmcDOepNuhLZIiJ48w0C9idO3P1R2DeyVHa8IQS1OKS9KdXDCWiGZJ0KzVEUwBpPzWDdPYX3XLVF2MFc0Js/
KXREquThw9AaUtDudm7hBhjWXYiLsBOaSS9yQdj/VP1jbdUIH3fMNDouYHHiw1NFV3Wtz+ZdEo+Z/HZTYMEcNrNU0HnuiXntec8bhv9Cd5oV4QuhkERTcelOK8+28fNiQej+Wiv6FUsjoVYr9SJbcHM9Ty9+A==
                                                                                  Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 5 of 40



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 23:43:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YeQlyEJgNOGs5Y2YFyp2FLLTwcS3vGe9EWPjVPFMPtZVQrwjyM5YL82aK2XgTjd4SZKkjqtjsxBKLwvsp9TKZ/cBQ5z7lHurkaYlJ5kR7OHmwkDXki1fo8BfiDFaGUo62r2hqWuC3VkDfECjcZZI81zQxmy9QXQ25QrywSiBZnslPN79eCDSMowQV28/aNlSHpNemzrcGyNu
   +A5U8mSdpPEdTh3co3KPm1eN0zdMiGnWzxhfKIxSTYxbYsmH0Orr8gYqzZXZCTKomzTFrWKsPd4cMb3wIv+kcHl7rd2EKQz1zTnYKX976rFdxTTLuSGyRqMbcUp+vCB8OJQA93bWTQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-23-43-42-GMT.mhtml

   Hash (SHA256)
   49eae46e6469366f669af8ab2c17049050db0b42388a4214e044b1878051d500

   Signature (PKCS#1v1.5)
KCi98rb4+6nRg/EzFRR3xzdQVpoABQb11p+1k4IVHChvLMK/x7oZxzkrI3o37v4bDtiGvVIOzp5Iykf5DJdxuJSwrJ8+RKTIu59EDgL/JitD70QfKJY5oqQM7QAX2Ew5oO4P9B1mjju9M/wshyWHQ2p4Fcja
+ldZ3n99Af1rmOWywU5dILI4jeObAgwpyK7GRPlRXtsq7YC8kFpOtuxKss1ua5n44xwcq3k6Qcr5//DxVlmdU/86FTnYSnrXET+YE2L/N1bYX9Tqllss3Mx8xfabvx1x56yDNnj/OJBbPMQZPwxUhwFAghJtKzhGMSesuTMeowJv5+lwy3Bx0euyAg==
                                                                                Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 6 of 40



                                                                                                                                                                                                                                                 Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Cartoon Cute Smiley Face Clear Phone Case Compatible with iPhone 13 Pro Max Chain Case Crystal Pretty Kawaii Smile Bracelet Soft Silicone Girly Shockproof Bumper Case for Iphone13 Pro Max 6.7inch : Cell Phones & Accessories

   URL
   https://www.amazon.com/dp/B09JGDG5JK

   Collection Date
   Tue, 30 May 2023 06:13:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BP3+pdBBQzjxDy0nJx72V7qzOO1eWxaBZo0/P6ZHrjrUqIebamd7o9qNdZ07KMoNTBATdt1fC2bMreeJsBHRGwkzHCcCIECurmibg4bCquIgqb0fRq+NT4mDu6Y+hHsOs6Z7M7Ko+EuiAihNJ0+9L7Msv5/TB0i3gHT/55WGAnWFw2NjpULCtfq1AKw
   +Z6r28fpFtNBcja12ctl9QCtxku3jEJH86QMKCG2q8cHvH4wkNwGgErr+19FovZsSZjS/bh/nt2kh9L+Q9wH4XIA3T6D6mO7TWaR/aP9DrZBa6ZtieBm5djnxeUmc6NgSKQyOkVwLo8tquqwohGaDds/M1g==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09JGDG5JK]]_Tue,-30-May-2023-06-13-12-GMT.mhtml

   Hash (SHA256)
   8b00cbd0590eed346944eae0cdef6eebc2101aaa1c89535fd8c5489779e49593

   Signature (PKCS#1v1.5)
e4ij/8+m829Q0ruH5U8ZIIZqJtYtfBI2b5S90+9ClClconfa68REEV5jsuP+AbxFregv3sRjfzHaX9+G2pdFF0yPGj7b7yZ3YcI2MChZDJEHBtZUa6xxGPC/SPrxGHouNoJcP9LlC27GqKfNomSGdVVMq9vEWdAfVnZqXsrDLIN/RNL+m3U0DVNOX5b9zFvbhFbbdDrF2ab0QE/
DXE6x6i95ioHDZs5+WzKptYWeWihQqISrzt1vn2eXp8zDsNY5YUbUVddPdYwUlgD0MJUpKBQExn3TTvdrqsdQxlZkUOYUTX0D53V7yArtea6zZG8Dzagzi5OcUJq4KHoi4uuBLw==
                                                                                  Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 7 of 40



                                                                                                                                                                                                                   Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Smiley Nail Art Stickers Self-Adhesive 3D Cartoon Cute Happy Smiley Face Nail Decals DIY Nail Design Decoration for Women Girls Kids Embossed and Flat 2 Sheets (Smiley) : Beauty & Personal Care

   URL
   https://www.amazon.com/Stickers-Self-Adhesive-Cartoon-Decoration-Embossed/dp/B0BCG6JCFF/ref=sr_1_102

   Collection Date
   Wed, 14 Jun 2023 09:41:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   oeE3FYcIsB+4HbkyDUcO0mA6pVdLqtVqQOVXku/Puo+dxbF8Y7KS+A9ZDOZNIMQaVmLixXnQsGo9ZItkpgx7Q4YjZH5VgtpW3enqMaKQg7ueN8i77XNLqMvpWWbnVhW0R/nkqADS4Zt77amK++il1c7YMo8wDhINNzLQmVbUj4s=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Stickers-Self-Adhesive-Cartoon-Decoration-Embossed[fs]dp[fs]B0BCG6JCFF[fs]ref=sr_1_102]]_Wed,-14-Jun-2023-09-41-33-GMT.pdf

   Hash (SHA256)
   1aa8e6db59315e6e79da5ab5dc949402e5eb856289f484fd7b93d1fd63f6db81

   Signature (PKCS#1v1.5)
HLc4Se1B1e7XNJG+fZHM5DVsLV4y4LlVVPk8aYVGngq2WMlDoBxIiNX6eGF9XfxJHfSvYcu0cciXYQd9LpHKps4zLkVm51+gv+OP6msLBzoD7tV+7mwgpD320RdcJLG/e4TctHqC+h+j5Wgqvr0HHrwC16L7cdmbXNQPOjiCH84=
                                                                                 Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 8 of 40



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 02:11:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OLprQPupqumObYzud0Pqwa3VlZ98ZBS50DGlz1RrxOwNqsuuDr7FlLh2JPB3Uax7W/zwjfXKgj8SKTIVy7DjYw890cXtUqxAPj/JE9aG/ddV/bWcKh3J2EfIKITHnadLX477odzqIR09Az6vqu4YUwFCZzKCyof9lzxY1OpmlB8LYeOWvbCcCgPAw9094frW1WULcMtz6K/
   DBo3PreKi1J5YYvrdFYiiL3Ryi/dBOJwXE0j0yW2mYNxp5goRgeFSUAb14dhSLNX+dRe7rEOgs35h3ylb/Wy0WtACjLVE3zvaGklOlFBy7YguzZi/sWeTblFwebOGygA3nH4ZChLeFA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-02-11-05-GMT.mhtml

   Hash (SHA256)
   86124441fbe444702bdc78406b1af7ec70398732febf4535835947a88face5a6

   Signature (PKCS#1v1.5)
NQNe44Zm3+hKQMWiVwWEozOB3Z/OO1IcHYjqVY41oflsnSW2a+h3raUY4ADyWSHguFXmR7bqpqBbGaEOic3TX3DieHq84QevHTrwFBQ152BAwh+7OUN4slNxFqXekuD/n7Nd8paJpcjUhTS8Juc1h1vznjpoHhDY5tfjoyU5joSsivvY+hiH1vJqE82oLtmwcSYf+IDqvasxlm
+PBBBn1YF3C5ShsUakKYo13LGIGbBzte6G60vTwdJD3HbhziVBqto9ndNkde4iNv4E9CzC8DXQX1S1t/DFJK9Hbd6uVBQApHuJmaWTatVI8uoao9NUlraQy9NWIRTD60mH/WClXQ==
                                                                                Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 9 of 40



                                                                                                                                                                                   Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Fotrsta Compatible with iPhone 11 Case Liquid Smiley Sage Green Funny TPU Bumper Soft Cover Shockproof Protective Slim Fit Phone Case : Cell Phones & Accessories

   URL
   https://www.amazon.com/Fotrsta-Compatible-iPhone-Shockproof-Protective/dp/B0B3HY3YHY/ref=sr_1_232

   Collection Date
   Tue, 25 Apr 2023 04:58:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   C+/mFssSGtmrYmPE9mS5x7LQuhDDWDN8w/h6SOd3RK2/KmovROYLx3DDfcuV48w3F0ijhhYGGPVYIZ2XATwzLRcqwpyaKgE04Jyf0Wdr5oRG0ps5G65EuQMOz4ujbY344FZ3F9+AwFC1Cq8EO6z5+kZXi4vUxu/5SJuJ68s4NGU=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Fotrsta-Compatible-iPhone-Shockproof-Protective[fs]dp[fs]B0B3HY3YHY[fs]ref=sr_1_232]]_Tue,-25-Apr-2023-04-58-52-GMT.pdf

   Hash (SHA256)
   494b6b3fca9204972f8a15568607929848f1d56d48147bb5051ea38dcd3ad0d9

   Signature (PKCS#1v1.5)
WYhlWYhp51/+zQQsMzHitCGYqB4Z3ngjz+bBoH6dWyQUwCTs7b7jiZaeSnxevOTm7o/p2VqS9oFpbXIu3KKkXUvsh/auGHavNyTW5EmtLi1iYFZC9St8UAwxG+zCSlSuHD8CRCSVGkvpGg53nOOhIhZWEnx1L4MMufNrtFyaGAc=
                                                                                Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 10 of 40



                                                                                                                                                                                                             Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 16 May 2023 07:16:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.57.61

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GG06Dmt2HyMkeY0w+s8rwBHM4Gy3DgspAXoebZhc5Bp65vZAOosO6y8Y6WeyAwRt5n9xSww5XXK537P8BUxkRlaSeiW8l+5lz119Cp7gGjr7i0/2DA1oOPcLR8qZgtQPI15gK25p/QMN9PUcbvGMa1j/TC7SdSlCtenpyx6Vs3vFGLkAECDL1D59d/4wmlfjQk3lWxI7sGB0rR5il1x1jt
   +VLeZkg6ks+aNoU5CJKrDeUqaMrkO/LGuVEdgyzEo/mgwXjYeJ6yn6NVs5Fvr3zZB3A4IkzKYxVhPcBefy6I/5S65Bqq6yUVrLKm6VW5x/QnaDeIovvryf4jVeNB0D9Q==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-16-May-2023-07-16-44-GMT.mhtml

   Hash (SHA256)
   ccd2e9a29729bf93bc41b297f55f5ffe324acf7388904cb03ae2c9e0cf4fef0d

   Signature (PKCS#1v1.5)
fhVLoUVvwE+h2oP6Rf0To0/vA15xkmFzpiyVrnPmvaizJu3byWWFiHxYmT+Tnw54xFikiO+bHOm6FNs9TE+R5IKhx9rWK5pf5bn1gnYEdnDaF0OGF6r6ikgm5clCfTFqzk4FJUnt6m+9f7ZxpX0hENLIiFtPK/
gsUQwpPQv4aAOpLGWeN4zvgACrgG5hearvsakErt1jYHp2gax9ktoQpUDrfsjOquaMKXo/1/de8nC95A8JJnJF/8kXSLt5KJ1hiEPXaTTYEfH0UZhvf4KyHespfxDA0tAlvSxYCjVckPV2ijys41p6ow0ZtOc7tAPWUJ8X2VzViVSJnL7Je984Ng==
                                                                               Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 11 of 40



                                                                                                                                                                                         Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Coverpower Preppy Phone Case Compatible with iPhone 14 Plus Flexible Custom Gel Cover with Smiley face Design & Slim Phone Protective Cases : Cell Phones & Accessories

   URL
   https://www.amazon.com/Coverpower-Preppy-Compatible-Flexible-Protective/dp/B0BSV9JFVT/ref=sr_1_130

   Collection Date
   Mon, 24 Apr 2023 09:36:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BYzyq8o5Pel+oQc7Alczczl2Nl1llXpByhMrvD62DZQSiRA55+AIvepzsFwXZZHyOw8+PRVcqmo6tCAengFvBUlJfXAcDcVyn/bNXBDB/9z/z/zB12cpirTPMuqhS4Yyr7LBrQ8Yh2k+n519OjvvBtnIPyiAZjha1WYhoTnHN54=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Coverpower-Preppy-Compatible-Flexible-Protective[fs]dp[fs]B0BSV9JFVT[fs]ref=sr_1_130]]_Mon,-24-Apr-2023-09-36-26-GMT.pdf

   Hash (SHA256)
   8ba709542dafda8763e5623cbafe08cf5cbd7761a8307b86064575061547e7bd

   Signature (PKCS#1v1.5)
gc2KrKq0ZRU5jmeIxKfcCLJIvo890LBFAtv1vwc7wgwKbtA3pIWxqqDF68YVfV5abSGxhLkdxuGJ6uMOpZXJoJghzKtXLQZiJ8QIyuniy0+g3Kf3gLYXtu7P0NuNk+DqpfIxC9HYGODkNI5YLS7WogOc8DLWrt3sdkcNvCRfxU4=
                                                                                Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 12 of 40



                                                                                                                                                                                                                       Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 27 May 2023 06:31:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   URvrf+UbcFPd29Kuc5T0qfgtSrf89Xsk/fZBzlAiZ8HmbZU19Aa+UWjzL7MVfrlwgH8KzOK5PEuuJcJavPO7R3EWcvNIGJQN1kSJ1hCtEyXF4vdWFwZZ7D7C+Fl
   +XVDBnw7jY2+NKiQBB5o5dltuJVc1kOqWh5Bysh0R00AxW8Savso4GY2yty8nBjNagCFNRw2uLAESRZ1V2r2ELcC2xpwRz2jNEoz3jb3MeRZLTIjm37Ejh+kzjGDHvce6YqaIIf4J0yoZp8lpaTtqHYoR0DRLJ5K0NGQEIMZ7bCnuDfGK4l4slJ1ssM8kNWUZpZdHkdqlLVg2riNjlxf/VFd4JA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-27-May-2023-06-31-35-GMT.mhtml

   Hash (SHA256)
   f5873874453d6faf51136025fcd7157e9c5694d23e886b5c23e498d1ab967abc

   Signature (PKCS#1v1.5)
bgJkBI9vbHKCswnrYRCdjvnq44tQiE4UwuFXX/RjdjKA1R65wUa223xdyksXEEV0ys8h+1iJ7ze8IDrX2K5fTV+u6tvnPZlA34d6YoNUjBfSg/Q4Na446nldQqsSujlpB4IkyHz+v/z02KLH8+jS6dEZ44dZqJZpz31PyjisdlIQPDLHssKIatkAlbB63NGuwNDTWLTzWgwyzOI1pubo0/jFzys8GUxUPNKBUp/
TmijExwPgIYM+s/19Pco5TjQVoKbOZkLhQAfzL8M7sK5e6zYtSlTYdeqXFI2lun3++GolwMq78dZpJ5yx0AEGYKEFmwEfIFFgB5PxjvPwdkqL4A==
                                                                                Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 13 of 40



                                                                                                                                                                                                                                 Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: One Happy Dude Banner Smiley Face Banner Smiley Face Ballons for One Happy Dude Birthday Decoration Hippie Birthday Decorations Groovy Theme Party 1st Birthday Supplies Baby Shower Party Decor : Toys & Games

   URL
   https://www.amazon.com/Ballons-Birthday-Decoration-Decorations-Supplies/dp/B0BZVJ16L3/ref=sr_1_55

   Collection Date
   Tue, 09 May 2023 10:15:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KJrSH570Tu9H4ruW8e1MezV3lx2i4hwxLQNnkt1TmM6loDR5V1M66Oq7oMHcxvDDq0dKdI6LDJMdZfyfxLRriAdOsd1rwn0pwXWJ3E8I2O9ujy/glp+iDPqgk5evwyEPim/vt5qrL5J0FM+LfNYJDrhjikrlc7kpqFTDfUwmN6M=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Ballons-Birthday-Decoration-Decorations-Supplies[fs]dp[fs]B0BZVJ16L3[fs]ref=sr_1_55]]_Tue,-09-May-2023-10-15-34-GMT.pdf

   Hash (SHA256)
   b3d46814ee46513dd8cbd779662074398da45e4bd3af796028ecfaeadccdbf6d

   Signature (PKCS#1v1.5)
Vqi6QjPKIpQT/SvH3AlyCez4TwaxL0H1vk99QRr5V5BcjeUNmHEEXDpLH1o1Ja5HLxzkQgn72qa1f1xUe6W9wZpsM8Xe5Y0aYeFlzS3JfDP3IUrUDLDx4rO9xTd1sFmQlwQoVC8dS6TAgQfOE28dw8jctlJgSMTCKMyIj/b43Pk=
                                                                                Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 14 of 40



                                                                                                                                                                                                               Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 10:13:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Fw653gchZ8Dc3NMdfmXMZap18kfV9n/6jR/XfegVyOAdEH3Vxl3DAj6ardo5kI4YZh6Wo/8mk81BmzsFQUweGW6Z1N1+x4d1v5R+BEnyW6G6VS9vesnlBIAjzqm/jAae6ppOPC881F3vVr3ANymmpuFeFcfMrGzb/4YA8KeFjNH+jvSmV/IZVbDowMFSiGaSc8EntQpeNie8ex7rB01R9Ntghp/
   uvYevQLcLSCbYZ68eiJ4OY4ZJ4wSXXmXyBDeNK+6Pzkpxqw2WgsYJZz+GHWbzBtWNTuDO/D7zm9+8O127pvhI2+VSPoIt+s9GFxfUwzN1BZaINpRWZHyemrD5SQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-10-13-35-GMT.mhtml

   Hash (SHA256)
   56cbb273e07e327e27fcb1417ee84468c15e89de096c12a29744ff5503e76da6

   Signature (PKCS#1v1.5)
jqHpamSrbo3O3kN1B6GN6ejCsfLHcYjjTANZM7UPfiT1J66q6VR3QIPZzhfQke6luvbkKUqCbOZH8OfvJu0UJUfK03ShjXFhSQlEAC7I0FuBNQuPdPVvYs1ScBT0Qtpni1uut9pBgGp5l/dNK7q0vIj3XlRVs2wJNCHQU1FcmE7s5Vfc8df5sd1AuGOgmD58etcptVpgTDCKKRLQjKDh+t0ax6v5zICgYIG/
IN92BNYnx1/HrwdW253AyW15lE67AIA9+ovb+SMOWD6Xtv1XYtDS3ZD1CiVuU/d2zTVllahldnMMZ732SWVGEXaFBh93cNaAxFS/vFWFkas+Dkx8+g==
                                                                               Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 15 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: VDONGYUKE Tie-dye Color Embroidery Smiley Crew Socks Funny Cotton Dress Socks for Men Women Couple Pack of 7 : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/VDONGYUKE-Tie-dye-Embroidery-Smiley-Cotton/dp/B08H4PNPHY/ref=sr_1_30

   Collection Date
   Fri, 21 Apr 2023 09:56:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   C4UgQ0PaLqXfP3ZKpYNK7P1D48/7ZH+gxrOKDfYmvUk1jf+hvSmevw+cww/EWG6+2whZzygqUbycCEPLh3l3rQ/NKhmU1+T9WRYj2TcPm1cwIV/r8a+4aqkyhYMEfJAKj9y+foqH/ugimY9+xdFJlvUjlXa35ok8pwqxED65lJo=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]VDONGYUKE-Tie-dye-Embroidery-Smiley-Cotton[fs]dp[fs]B08H4PNPHY[fs]ref=sr_1_30]]_Fri,-21-Apr-2023-09-56-19-GMT.pdf

   Hash (SHA256)
   675438d19cacfd850713372dc0714977e7d83548850b2305c4635aa274d5e0d1

   Signature (PKCS#1v1.5)
JoSIRFoP6CWRHci+0SHGDx+YH7s66Z08rchD9GsLSThEPWf0cdpTVBO2CN7Dm5qe66WGj8yRp04TBE7du8UYQePFFzUuQjLbY2NQyrddOvxidUKsX+LTj3huUzaHDVJW9cO3YMjvuWZWb/zaszQH2sHNrGCRpHD4ZmjM/EPE1hk=
                                                                                Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 16 of 40



                                                                                                                                                                                                                       Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 24 May 2023 05:59:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.80.105

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Czy8fvFactYNZwXRos4/fFwMSidaJBTKBlg2r5okfQg4j3pbSxRIMVyJnqI2PO2xU+0D93NvTsPSeA0wftqfftAodBS3YSZEehTOEnKrjkYczVuHRQD0i7qub0vuqySifLAmOsadz3OZhiLIHv5zjxptEMJ2hBVnst15oaxMRtC1FLwLV3Z1gqLExrfqviXgnznhpYGbdp0Y2XPh0gP1play6kseiE9/
   MKWzzAwUpDShYlTpdGACeJ0WbYbPs46da7J1EmYZ+DdRFapmKGMmb7LexosDUldEnanGjAgoU7aNoBSVhFDNKHVytRNdbHH8KDwLDmMkMaaE1aXIHGlOSQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-24-May-2023-05-59-27-GMT.mhtml

   Hash (SHA256)
   3789d63deaa5607007c8b16f6eba3df87e94a56a83dfb75fc227e1e707f103e3

   Signature (PKCS#1v1.5)
XeXX7H7EcGFMnwNI4mKdUV5/BJTXKd26WqwS31iCwYy3Fbo9sQUq3PNfzspg0QIWLA3ZOcMrlUyNNOxJcAqw1maughLe4n2vxJZy+miDzEk8FEIUYhmGIjm6HLa4LprQSNb2BJISF2Z4kg0kNhVLmU2MPPKnoN3yJNbob8qKtMuF8U3wECQYfOEOHnmdB46I+F
+NdA9kxxplABDV4z7o09iWjii0gbt+MlnXApr0JZC/WhpCNLOF9MfQwoEDLzyG1Z7IYiM9iVy6PbMRLGtSAjNZB6oieE/0W6ogvGsIO4NpDvXkHT0pJ6Dq/EIYFsxHMILBaxfRt3NADRTZObaryA==
                                                                                Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 17 of 40



                                                                                                                                                                                            Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Aucuu 2 Pack Corduroy Smiley Face Makeup Bag, Aesthetic Pouch Preppy Bag Travel Toiletry Bag Organizer, Cosmetic Bag for Women Girls Purse(Brown) : Beauty & Personal Care

   URL
   https://www.amazon.com/Aucuu-Corduroy-Aesthetic-Toiletry-Organizer/dp/B0BVQ7TNQL/ref=sr_1_96

   Collection Date
   Thu, 20 Apr 2023 11:32:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   oB9EVUHOK5ukNUxdrf37nNdNLkGF0HwrjSTmqDPso1+JUt3iPslKMd4KcFzWpbs2GXOhnb6amiIdhW96mX4a1HA5vb8yHi0sT6Zv1FQ+4AGCvzpvtggkxwdqxhhvAh5BxsBjhuMjA1KF3U1k2H8dyLzldKt9nPzc/SO7+3Y2k0E=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Aucuu-Corduroy-Aesthetic-Toiletry-Organizer[fs]dp[fs]B0BVQ7TNQL[fs]ref=sr_1_96]]_Thu,-20-Apr-2023-11-32-42-GMT.pdf

   Hash (SHA256)
   dc95e4d694111c10fd82bd35d581773a993e8be7a22e9c13bb8583ecfe71ed87

   Signature (PKCS#1v1.5)
NtJS9emQvBoTPzsT5hh6TUWz99irPuGy7q9CYwJk5c0Uu9Nx+SG5EFtHNo3uadENXzPAiUuVFJo/9+bLTwCa1hkHj/rFZofC7PVfsqzGqsnW4+2FtIji3iniALabNmzj4gzNPFb2Pjw8KQKBlt25DRSZ5J4GR9l3kGM29pLAi48=
                                                                                 Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 18 of 40



                                                                                                                                                                                                                     Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 16:39:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   N0X9FjD5XM+hQVoZjPUVHbyAsDENfX5dDfnhIePXzlbDbzbnJbVCZ3scGNzGI9AfMEZORoASlenEcdPAkOPdOJKUWEj8sY/fWJulgEk5b3gfCiuBEqJWuM4te
   +UfcADxznJR3aqKo1AnIT0prMcEo3+MGwZQyefF6E1dwNwhC4ANKhY1bDHeJGzKF4NsWFHSFF4eCyNa2R9d66dz9NmXYXF1AOH391CnkqCmOpocjW3JhLqWOVJpuQecX6Cke4GrkdVO4HdbOou1n4Io8SdnPxNnPguAxBRCUg8PRzj6JDM8GmhH5iKgRrt8+7MDUvjYR3A0ajQ8cqP4U
   lKEvQULNw==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-16-39-34-GMT.mhtml

   Hash (SHA256)
   b9abcd9cd9de713d354fe3b86e0565cf19aa0f4d10f4c9a3ac8d9bfd493c9fed

   Signature (PKCS#1v1.5)
O5sy6GILjoP0EqZ0qabCdItoH/Nv1//etgZdE8c+vCZceL/mCAoiG5zxUTkYwU5AMlAe/sjGr1pIuBpxtrQGqDVBYXCGw7olFHtXAJh/JRECDTjkxSU90+FRkmKf6ih2YKvZQspvoPJQyI0Ma5UXKFrWSdOlq+ieFHFPjPlWkktBHztni1v1sHVI4QDOhEs44uesUGOQFB5Pk6lIvcR19mkjFY2Fe+
+RZmF98MS3QYM22H1hKeozwav9w7UNwt0wtcLLCdmu0RI4b2ZzaImqTjGY9xo/c5DYs0cfgXTFTFi/aRrWjm/AHCiUyYCfuNK+QkLilWe8DVAnWTRYjfhSAA==
                                                                                  Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 19 of 40



                                                                                                                                                                                                           Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com: Benxni Girls Earrings Cute earrings for women Sweet and delicate earrings Smiley earrings 925 Sterling Silver Pin Funny Smiley Face Dangle Earrings Gold Color: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Benxni-Earrings-earrings-delicate-Sterling/dp/B09NSLY62H/ref=sr_1_316_sspa

   Collection Date
   Thu, 20 Apr 2023 05:56:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PzXTr1b24ecNDIs4d3BSjb/ChMWN4pcvw+CefaUG7PTm9z9vPxITxLSjr+gdo2NHGNAgDJDGKZSli4MIW0Y7Ui3++1zAkXz7hDnH9ot1zylW9vQsKGdJmxzsE6Zrhvv/E5R62gIJoKC2SubbfrdwkZo3PsUcA0Ze57ZcqiuOWLw=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Benxni-Earrings-earrings-delicate-Sterling[fs]dp[fs]B09NSLY62H[fs]ref=sr_1_316_sspa]]_Thu,-20-Apr-2023-05-56-54-GMT.pdf

   Hash (SHA256)
   51fd41b2d0d88a72d9547fdd3aa08545bdebc58ca2e542d616849e3e7105952c

   Signature (PKCS#1v1.5)
NdBF9kTMQg7oL7lOvi2KbjZdOUKDqD+k9Bc8hc6yOpxFT1CoEze0wN7mb9yY6y15wInH1aGlgbGcQ4XrbAvM9uCrjr9KKvpq92N3H+q5zwPfUIhi9QrHw8IAJ17hlAvVbr6eMHiyT/ubd8wQN/cLFq+c/cUUcA4ZxJ9I4AFzWuI=
                                                                                Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 20 of 40



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 05:29:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   LHT7D+jDi1xBVgYqMWeT89K5h4eswb98n8df/5jzZ3ag19kUhR4cxe4Q/22KwfyS1XaNSlYBh18VV44f2WDfJoQbOAvGAOiAyvRnyO6BE/Gb0jYerRc1woWq24eP/1B9ixzGmxsLMMvgXjlqcR8Dq7+K7mWshIIur+YUEV7R9sloJqTLbXqwsi+WB
   +YY5jqur3eW7Ljeamy5SB7NQm0L67jSKKoTm/ygi3uVT//lRk4ZqjrHAe7q2oZCkIu1NFOSJT/FhiFUJ/D7flSNxz8U61tUDTkEzXC33ONE5t6RDK7DeT2aEeJAaYVMXWUiZYgXfn0p0TCQX/fJ8YNy46UewA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-05-29-50-GMT.mhtml

   Hash (SHA256)
   a7fc5633b074f6533d5acdfd666771b833c8b21b6c16b53b162c652ae38b36a0

   Signature (PKCS#1v1.5)
BPll0VHZHDMbEHOAnGdKcknfHbw14E/Bex3aQKiw2RG4bhca9VjUR6VABqbuyJ0wbOKPtz5qL53CPkgImam3mrZpuzocpftQcMJ7XThCuJ4CP6+9LuZJOssP1zbJazOyoeTV1k1cd71sdZgo1hc60K1Yrbe8m02TnFWqEk0nOHRGUOU2j6QE7Lh+fOjvFTt9pwPa3U6BJFIRdbh/
nUHZY1UvBT5NglVtKfP/U8Eyn29fhxsCR93rNiyj5irFTWHWxuQos5Ph/o/0XWjIfgoeOTvShq1KpF8eAvFToPVhsLNiiUuwPWZ8FQdE7Ha0ZY6pSyjoLrWw0XdieR1C268m6A==
                                                                                 Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 21 of 40



                                                                                                                                                                                                                                             Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Aitipy iPhone 13 Case with Love Heart Loopy Strap Stand, Cute Luxury Bling Glitter Plating Smiley Face & Gold Electroplated Bumper, Camera Lens Protection Shockproof Cover Women Girls (Black) : Cell Phones & Accessories

   URL
   https://www.amazon.com/Aitipy-Glitter-Electroplated-Protection-Shockproof/dp/B0BTV55QSG/ref=sr_1_94

   Collection Date
   Mon, 24 Apr 2023 10:51:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   a4PHo5FS5wxe6hEE2gI9MwurZ8UPI8+w7kdj1fUn3qBY4s8FnekF1OfjmMaXjzgMldt+tIMgTTdga+t1Y+f6BjvvQkqiOqvYJ9W8dNhfbfkxJaeABPSJvB8mlaQytkU7ug4c7r5Zw9f4I7XnmIDhII/eiI2y2aC9PmaRNgEp6Kk=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Aitipy-Glitter-Electroplated-Protection-Shockproof[fs]dp[fs]B0BTV55QSG[fs]ref=sr_1_94]]_Mon,-24-Apr-2023-10-51-26-GMT.pdf

   Hash (SHA256)
   eb7f8304627b97ea2da4cce1daa99f19a5511790e08326753bd1f4e5c17763e3

   Signature (PKCS#1v1.5)
HFkTBRFliwAXB7FdIOfPNkbBSqGEHJU+OGk+opsLUSYRpewfA4sdH1gmL2sWdiRaiNloy4oN9fLtM9q8UGeAJztXCmN4Ae76btLIOk3budMiE7zVVrJNko38y21vbblgQ3r/t5rGqtAmuZO7ZbQSueOEwbI0rKmKisfIdD3AwVU=
                                                                                Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 22 of 40



                                                                                                                                                                                                       Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
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   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 11:48:45 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   DdtcBFpUMq/MPDBtWwR1RN4Rz9/P/rRnuM0dPxMJ9b8ORsnN2zX5D3a0gubChUeLK5BVcnWui++GMc3mX7e3SW99E42c9aJcYDYz5bPldi6QMdapNl7nTf0qFwLEtomXGoqY6SjP9yF1jCubHdlDttpXoYxcFEhPJuzii4HqttfqTYpf2j6HQtDJT
   +tF0L3S0e1Ivwzaj3JRzNLRHNfqkrEB78x00aU2ZwV60diy3p+dczmv7wcwH6O8oowL/INwrhLbsKoxQYii/Jvb3ARQG5fAMe4o5FdQGZmR96e4bmoYIqSIOEkbEg69QYWzL/Y1CnSDiSA9jrE7nVqRsRnutg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-11-48-45-GMT.mhtml

   Hash (SHA256)
   1c6eb703d6f2c85cb227fb51468ae2fadf5c8e30b1e3efac23684076189dfa1d

   Signature (PKCS#1v1.5)
U/SI41mJw1SyrTb4+wip734+qE1FyEQXlFnBIIH1NpghMi4OhQD1+Y+qqxG6ovuVzWWQiN8Jp2w/aNCXkhAmNIvG02HGn74sHLHLuqFsinq68jS/
r2eJhT5HlDaah5wrF62EgfYGALaGaA9D8GonB47ZEDdaKOz9h6VWoEA5HwnM3a6EmSUwXXZkGNpFyKX8b5J4Wzhn9SPvbfI0LTZEqUZxBedrZGhXvazJ4/wosy9y4o13kWYU7q/kY8qpIVCWKmQJu1dDYDV5k44c7nNAuJ3TwDX7y6dXilnZGwzGceYaxBiuUJIFY7UEUO8/
Q1C2Zu9N01bG92iDoSce7/fvtg==
                                                                               Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 23 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   AJG Smiley Face Baseball Cap Men Women Cotton Adjustable Dad Hat Classic Casual Outdoor Unisex Trucker Hat (1Pack-Beige) at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/AJG-Baseball-Adjustable-Classic-1Pack-Beige/dp/B0B6VY7H3S/ref=sr_1_63

   Collection Date
   Tue, 25 Apr 2023 10:36:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   agqjkJhDA6+0NwsYVJd0HlaI2VF4fCkIlOeIlwfid7EGsPr8f6r7iAmrJIHkVOB4Es8O7/fVesmx0yDzN2H1erperq5rZMbPu6YTlf3/zGxY8ZKmengXkHhZqDTugWf36gCh0Q2IjoC67vlREc0GvMLddLlLMlOim8y+YdrDCNg=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]AJG-Baseball-Adjustable-Classic-1Pack-Beige[fs]dp[fs]B0B6VY7H3S[fs]ref=sr_1_63]]_Tue,-25-Apr-2023-10-36-17-GMT.pdf

   Hash (SHA256)
   03ddfdbe25584fd9304f4a52761d9ccf240e81c01466fcab9cf5299879e5330c

   Signature (PKCS#1v1.5)
U+FOt6TXpqp20qx56TYO6H6j1jIm+VTF8IGPhX32prVzF3igzEKgWmsRLGdUp5lWzPsLZyz9NLq9V+vZ5LG8lr0lydtUYALQWj4kvkLcccRHsqRpf7oIHe9ywvXhXmDrGvuBaL3yJ3Uy4ricTzQAfftoKPfheljA4L6P513rdzI=
                                                                                Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 24 of 40



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 16:59:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ny8HYRlPZmKisDP1wDaxMfPFEjc6WtaVAiG+2B/aVuGy+xw09TU9SOEmtvo+12nWC8bo891Dujf5h1SBRG3MYfm++y13/hdxlXnf8/arK4bH2rk/b3VvWTac7rSw616P2+QF160HfbpvGQT6AwQ0J+sD0tVf0JbAYOQqz2jsKxEsmvq8sd9grt2Bnl8MCUJjxjnTGCyt5d1kb+Sq
   +k5I2Hr6oco7/4D6ejEokBq1grmdPUAx5xjdxeVEKVPaJ5u+hYxEbxRhmDzntofatPUbA3es8HL5sI4TaF9tvvdeI09ZyDmR0LMAwm/FcWDtNcqXIQnwoVgCA5BocrUnGvxfkw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-16-59-58-GMT.mhtml

   Hash (SHA256)
   4025bc4048a7dc33fcfe3809833b688934756e8e7b11bf2a524a53f00f4d0895

   Signature (PKCS#1v1.5)
VQd9YxC6Oq2x1ZrhrlaiemE3LBP2Bh+zeevipg+bZ90MFCtpmRaSrj93rk534EYWtt484xY7B1DpvK7P4C/iqoQ1NnNc7OpQTwDXDsueXAVMNatFqqSLqx5GfltDl04lhE9EPc7Tcdt7WSsM5eCpcvxVmedoOagqMKH61s1SlFY8IFZpZHU81lQQHyFfAq+zDq6clP39vhyZe8kcs1/eWRoj7UVi6/
bA5nsJajzSFpXn1r6275WOc78lXZUiWjHY+1AvrtuqL2vrA9WIGM/4PLZ6a2yGep109m6X4bLtX06RWq0kM11XutSn5qvKpdTOWgqZV+4MlSw3N7maYe0svw==
                                                                              Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 25 of 40



                                                                                                                                                                                                                          Investigator Name: Chris Stavrou




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: Akeoqi 8 Pieces Choker Necklace Y2K Colorful Cute Boho Glass Bead Handmade Necklace Mushroom Smiley Face Flower Fruit Shape Necklace Size Adjustable Choker Jewelry for Women: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B09HZDJ41Q

   Collection Date
   Wed, 19 Apr 2023 11:51:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   R67We6+FYyowylfo7IVV28TbFDRUmxulTvAUeseLr8wIEaXSGF3lECj4VrzqhKa8hdFOlE1imoCDtkCiAkVgSubhWPzknxRH74yQInrVaLnS9xc0MxVt35KQfJiD0OgXxUE+L9+uCXmICw7e+oIUsqKvKMw9DiE6CxkC4SnJlfMrwYvSwHBX
   +1PMELaCsCwICAgKfx5gsXRpefcGtS8LRGtO2nKjhU9NhTg7fyPb1ve+kgq+Uff4z3xaUG3Iob1AiEiW5hbBfAndG8Gy165R7DX+7wPLWlQUfOG45IvIKsJYH4N40i3ft6PzA/AOW4RnVXrD3ecrcbhfAwQWw5LkOA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09HZDJ41Q]]_Wed,-19-Apr-2023-11-51-02-GMT.mhtml

   Hash (SHA256)
   3669ad63855fdc78e6add3f5ced54b5c3ffaa48bb4703e56ac257f353ef2ddfa

   Signature (PKCS#1v1.5)
ANlEiGIJbVpXDtJKVOXlarhJumipxHmRudYJpFbxVHi0fmFs2d39lCdECokTmLNG+yyTLh+4pLHcLR7bkLSMmhaTv3CASuNPFwwjAr/kHL0Z1wn2zeHzW0VdRClMoWyiVdqa3FZaLWtwt1jZfIxv67izpbeiJD3xQG1nrMpo0KDzhJ0Fcmh2tddjvd7r10zFluT
+jnpNfhjMO7FME29f0SQkdnL4Y7acD7RvwBAeLEWr5O+5ruGyL+Fg2Met0+ckGra2GoYvBWh5Z9arldLO//ZEqX55H6cPxM3FJ/j+knXfvaTRwhT0DVEyejn5dAy4C/ptU7H5zEybhz1flpV6OA==
                                                                                Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 26 of 40



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 12:09:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nzKnWrP0d883LI+7seAAAfi0eva7lwOavDnrfPLsY3krETQjp5hp4nLQjfx5boKGYerVoEANOaaX9S2gQVoDYfHxAeA5n2UNSY7kp2H6NTlxFLaAKonROUTXTy7QYcOA2nEI+hOCDp6KzHKeJ0/uYwr1McefEXYrD9mfRMEDW34l1KfLdOiwSV4/fN0brEtUgOnVY6RknRkvq6N+c/
   EZK9tXsBbhezpY5hDNh2F2CYv85XzgGbHwZr4WIIdwSHn4k66OOwFe2abHxU6qFmrjfvTBdmh0OAvUUp+Rr6oYSJs0HI35R6mcQ+Hm0h29XNAjotHVZmYrtWdQalD91ZHdhg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-12-09-47-GMT.mhtml

   Hash (SHA256)
   4e91d433b108eaeb188dc82646aeb2e33d71822676b2e1f1d12081a7321b9edb

   Signature (PKCS#1v1.5)
CXPYanSSAnDc9kD84TJmClPdtDc6Jrt5Ubm26Tffp3Xvy+Yz8PT2ug6yfwWL3Sb4WzH787/+nPlMBcYZ7oUmKN+M6KweD4MbEqZbqv9YRBVc6cxydw3hrbmgQWNc03dbacNncQ/BPpzR7r8DqBsunfIQw/uLPHOI
+NBxEU4mRcSaHm5AGK7pvejgnFcHqnlMaLh5ZLzLwMF4B8nWQ6WTsR6rzf3acPyCe3ROJLZ9oWDnpR4cxDY5sKavV0+N18CPBESq337+yUTY4McicI/97zwmer5QLnYcnz6Tn5sww7vGv0hWJPcdLvrWW09ZrdnupYJTyPP1g34UYKzVraaxwg==
                                                                               Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 27 of 40



                                                                                                                                                                                        Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: FORUBUS 3Pcs Acrylic Smiley Ring Funny Smiling Face Transparent Resin Chunky Rings Band for Women Girls Cool Jewelry (A black+white+yellow): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/FORUBUS-Acrylic-Smiling-Transparent-Jewelry/dp/B0B4B2MS16/ref=sr_1_35

   Collection Date
   Wed, 19 Apr 2023 11:43:15 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TQmCePbVO8UsFU35sydxe7XuEp3QjZVrEjhPy8DJJKX7C3tgiTJEJIQrahjPWtXBgejQiDSPOWhyLihpLp6AWuum327Ab7O/YVdTbG/GvcejWwz5WqOLPX1dYSpl0vbtp5QVZCiMsYJLnmBHcNwUxRvRTVoTXpjIEc4ng17lI78=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]FORUBUS-Acrylic-Smiling-Transparent-Jewelry[fs]dp[fs]B0B4B2MS16[fs]ref=sr_1_35]]_Wed,-19-Apr-2023-11-43-15-GMT.pdf

   Hash (SHA256)
   9219396ca5086809bbd5405f8c611ca7960c5f34017b1c40c9e5cee56bcfd2a5

   Signature (PKCS#1v1.5)
We8n/Hlyy+SrJenKnGzsJt+JKcfrdvrNeIQfEah7i6ZdjVpMnJt6Ih+llB9SetlLOlDHAi8sh0s8bOEon+McqLGZ0WLvRuxu0hu2+saKVqm59TSsPIJoympGOOLjREMpg6zm/LBW7Mg/F+huWXd/5sEUEXXO+9mcFwZWemDclOs=
                                                                                Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 28 of 40



                                                                                                                                                                                                         Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 11 May 2023 11:17:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.40.99

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mLq/k+KCdwHt7cZRZU6zdsfPRoGCjaPcYAsvlXYd68VWfPywq57ddoNel8Ew7HGnMRdfydlvv+JHzwPSQzL/CFIokxxdbczMIo3+ZM7Jg5yOKVM5YJfitRqWgWBkimlNzBlVmg1QXQ9FvAJ0Mvmgg5dQ/HDaca0v68XlEN/Z2mpa9YR+Vxc3eo3PT/
   ksxrQDDVCyrlP0JPEXPRuia9VaiZwc1uhPYy2GiPA5mYAwDq8HU+wWdWFskRhtMNo+QAMB1jMYhEeA1SMw10VJ64vuH09P+C/xLilhNu7e8vGxHIW2X7ASPC76/+fDzHjT6ifVGumPmXHMgiUeLaJvEzicgA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-11-May-2023-11-17-44-GMT.mhtml

   Hash (SHA256)
   187876436240fe1743b4deea7b6470e55ab5b53828b4bd5470c0dae8cbe452d5

   Signature (PKCS#1v1.5)
fsGxSwG8Ko5V9YIs0a7hBc/1wVgRzFCMWbW3CVgKsac5RmAtLVWouIFgXslHDoPXm+UfP5Tz74MiPdEbA2FnCDRBUueTbKwp41GCv+3F8diGz1DUXuTHNTucUDh+o3eBFGa73/6lrv6JcLxNNPTuIanwQXcZbiaoa7twwQS61Rk3sWP0+/EiM3LU6ARi+c6/LnJig/aH8utvV/F
+gPXafPF7HfN758qsqdK3T2JSHZ4vxsxHGwoKEW4CdnQAJ05n5zI3ShUIhP3KDrPHCxZ22C9ejN7a/bu9kHwVNzoA6aAQNtQK1VB4ZBuF1xS1+TXECxcO5d9/u1KgqzmDrBoZ4A==
                                                                                 Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 29 of 40



                                                                                                                                                                                                                         Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Necklace 925 Silver Golden Thin Chain Cute Smiley Face Pendant Necklace Ladies Fashion Elegant Party Necklace Elegant Jewelry (Gem Color : Gold White) (B Silver Turquoise) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Necklace-Pendant-Fashion-Elegant-Jewelry/dp/B0BXPH2Q7J/ref=sr_1_303

   Collection Date
   Mon, 24 Apr 2023 06:36:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   oCLqTa8AtKRZYp84CGid3/ITfU59S7YFWcyOWISH65tROTVwXuklRs5VLsvywQ7p7piBhvvLohhxX27grYvKMOJMuw00dES+iOAEvs/vxLD1rrCp9L67H9yMYDAGtw+Ux2ekZQrrmkdaHF4zvpuw5nRPLx1KnhfTeapZ6II8KIk=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Necklace-Pendant-Fashion-Elegant-Jewelry[fs]dp[fs]B0BXPH2Q7J[fs]ref=sr_1_303]]_Mon,-24-Apr-2023-06-36-09-GMT.pdf

   Hash (SHA256)
   d0bde2bb4aeb26aed4fd0cc61dcb2c93d0d4643d31a058e5aeb16a67c71e9386

   Signature (PKCS#1v1.5)
XeZdKbopiHOv0yixN7T636eqaeGf89D0x1+8ReCXT90aMmGcsu2gtCoXrgdP5PllakcRAqY2z2cyAHrB+mgniUDVV4lF2r3qS3ud02URbpHtcptNS27pKs4Lg6bfqoKxWJETu+HtM2+xGlrMDW4Bssql2jzTuxe/lA+JvIyHjAs=
                                                                                Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 30 of 40



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 25 May 2023 16:20:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.188

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   W0K/JNoeAwIkGosRaUTq65xFoAc8LEv44tuHqx743N2N2WwmYvBqu0MBle/REEEQE8/IAddwboCOGAlhBF57hIS5zo1qcZ0uG73dfmdxHk3eFSrXI4Zz/Eu+OzXvtJ8Axx4s9FW8QAP0DAOD2IHLPJ9q+RQMyVG9nt2Cn+x5kaO5kWroeJYQm1o18nGGI6kYbU/FeobZFGcdmlkVEeYI
   +zwc0VZ/dGY7Virwr1zAx1EHer7Y1gnemkrvPSsMKDdcZDxYS2eKXRq2cZOd2OztZWXexWdRxt2cwGrLVq2if9cE1DKiVtajYgJrxBenVvfaqQd+2UMr6L0WuWvQB3w5QA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-25-May-2023-16-20-37-GMT.mhtml

   Hash (SHA256)
   26c344553dc3a5f43d3b04b2d74b696b8436bdf7a555fab6ec3070ff88b1f0ce

   Signature (PKCS#1v1.5)
Tb0Jjgyvu4/s3E8Y5SpW1oqNOjQmVXR0ad4Rsde/XTf/68d9gcvQQwyQiLBUEc0Op1W7739FXhoAmVklaBJ9BRFHmGz8Xy2+5Op/VXXnT0O5HjGh4atADTAbIMGytR1UZJkJIoD1i6n4zGsod/ltMG9qQv5JQNDQ2ZSvxVMD9IjgUij3ZWTxwQP+INurQslNRiJvGB57rNiriwt
+9KlSLjA5gGOeeaCYDCHBgnuRTuNBmk8Dx/9xPmuvZr297YwY1UewzqEmAqA86RSgvUiyciXKmSQklzxqUMq5PbX+9jP++4qEqWm9JymcnyzAFU+w8Irvg0uLkASYOa6OGpw8ww==
                                                                                 Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 31 of 40



                                                                                                                                                                                                                                                        Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: One Happy Dude 1st Birthday Party Decorations-One Happy Dude Banner,Smiley Face Foil Balloons Kits for Hippie First Birthday banner, Groovy One Birthday Decoration Smiley Face Birthday 1st Birthday Party Decorations : Toys & Games

   URL
   https://www.amazon.com/Birthday-Decorations-One-Balloons-Decoration-Decorations/dp/B0BYDJG6VX/ref=sr_1_28

   Collection Date
   Tue, 09 May 2023 10:11:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GQz/2pFHruv86VR8xEr/x9k4NlKjDfSernutr1hJRFFf+dRS7LqCfdpxTwt7eeVanh+xEVdesC3pN4v1Y+f9FJFIAQPGRkQcTaBXegYhDNkAW7aUi9cq6lwKlsxr07jemXhxyGq0Wsf6/CdV82Oon+c1jHcoxrQMqyqbZdUvq3g=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Birthday-Decorations-One-Balloons-Decoration-Decorations[fs]dp[fs]B0BYDJG6VX[fs]ref=sr_1_28]]_Tue,-09-May-2023-10-11-00-GMT.pdf

   Hash (SHA256)
   927904dd76b9740a7d9388e0fb64f1c3b339e4f6a06f4f410519145f1d62fb91

   Signature (PKCS#1v1.5)
RXpuT6XDrevAzBSPUasBbKkWmzCKekKPZUaWGQrX/5hyVJ9rCvgSIVASvNaRA+bnv92D6PNl5l7g7IKmDZbCpFlyYARqyPYXNb8/HvEsaP1sFz+YB04Hfq2I7j1+qj+7YAi7SeGNj51e/QO0MNjKEHCPp9pcRyvbACetq30d0gM=
                                                                                Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 32 of 40



                                                                                                                                                                                                              Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 11 May 2023 17:00:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.105.210

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   oKhZYMEDGEsBgo9oXHOL6M8Um+vaH3pxDCZ1P3ZkwM7k76ipkgdFSiEc7QCMDVJZ+HC02UvU+DVoPPR6VKtkp0DFO1HCNz/s1kc1YYSoG9BgCDr04CQBoVttGBDVyBZjMYJsxn3WyIgZQqZSeLu8zffFlD0tB1D32Mwr8NFgom4K8E5V0mQy/oWfWtCQU4zQpHLvQ
   +pMNX9KdSz/16fVDEzF1TG/WfF8gr6DrwEHLNqNfh12vTqxnaaAQ00wwUzXMTlOnUUTMLb4Zdfkg5nZklq3kCockcOgU17nT+Xw99G8Yv7c1f7MxqxGCejIlbQE41oASKISS1hDfVi1+aLMiA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-11-May-2023-17-00-01-GMT.mhtml

   Hash (SHA256)
   78a1c329dcdb38d22e25c74a5335a1ff9eaa54d10150d27ff3f2426dff134b10

   Signature (PKCS#1v1.5)
Z1mOg4SjCqwevIxj0SEehSCytQJAtI7yBfu3eOfOxfSVGLtwaFR9qgzbdnFcplnlSLvnCEt0cmLnSEd3VIz5A9uphO60BVS86T1xiu9nNWf8a//xPqVATyiNmRAm7yOux6N3zyNeyNNHxDzIN2Sv2SHX40a3VyaYbsDWAJSsVzBrdGyICZt765Is2Lda3Lg96vUEkdjRGZ/
DHwaqlM1FxvL0m7KR6wxz71DH+wD1h+1H5CclYYSFD4/N5GwwnnnI742S0Kz3tIHHu6CqjFrmRZ6QTQdEQXBojfrcsP8RUh/9wybxP79G1QbugG2UzrEMhmZMChtlHUXTfvp8Uq9awQ==
                                                                                Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 33 of 40



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 25 May 2023 14:53:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.188

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ib/nvRqwhYHO7hHwqusAB1Ig1N+hDedl2Cn/goTXwYPpqk574h49iFonG4jcrz8CRABfn/4AGnQ5eMSkOU7TDBcTeWe1wXMJX/46MW4TXYP5egnWR04J8jNocppBLkoDEruiJtg7FcUU9eVIVsw1drYLz2B3sx9nqR0dhqvsxKbf6ns2jt0z9MlvwrqtjRd707CbkD4b
   +BUF7167A7JxCQ34Lgn0qUsBiCp1Gj/lxAEPcBim2RgfX8/bV/DREahKlTgLfXkl6OMyxJ62dlufg8+dC1tqkqYXU8OJWc/yyiVWI6SikonjG8RFsQHifuJR9uEhxTJxWLuGF4KDeVomyw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-25-May-2023-14-53-38-GMT.mhtml

   Hash (SHA256)
   2165d1499479b0db6c80ccc544286b3c3cd67bd5d49abce0254f8dbffe4faf66

   Signature (PKCS#1v1.5)
RFq50/9ittGYp4XGA19ELAndOycXZpCHJwmVtGc7QUnmxxTskiDMEteTquRJz3NcQNvrLsPZeGoGb9CQWOmiSlOVz3Jy/g+5aO2mgk2Q1nHmK28MTe+YZ0t4YNV86P/DT0AxoVLaDODgy1wmt/3YjOf9YZmLW2B824ClHqCq931fRpv3uvu2VTYg5aYZa75y
+zwG2U8E6mOPpHIFb5iqN5Bre7qKquINCJNpWHOmbx1hhmOwczPEsM2zz1Ox3fVLg/FjtwRVni0CbatUihM7FPCodJpHLbCiiSGAhvBKGIra1AHo2Ahazt3JRBs3ZfP7Z56fLB62eVxuP2wAhdP5zg==
                                                                               Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 34 of 40



                                                                                                                                                                                                        Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Allereyae Vintage Seed Bead Choker Necklace Smiley Face Necklace Colorful Bead Necklace Cute Rainbow Necklace Chain Jewelry for Women and Girls (Colorful) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B0BYVPSVCF

   Collection Date
   Fri, 26 May 2023 08:10:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BcZOqLm/3WKbRT7QEPlI+YRsoE1ES4fXk5HD0cTjmZgBTqwKeZw6CQUyWSyzv8MVdCt+MCoENl04tVdUGsyGhgSr+wNqyg+05/D/BiTEs/dlcNlK05B/5mJ/
   Dkgt8fqiuhSXhyVFeUXX4As/4SDdXsMsVs9O274nVXUsHSmL4Z7OW1RijqpHYrZ4ihoqQmnBnBCZuCPDMJxfcU0CqbtFP60B2OnMrTEIH9Pfe9mUZE0LiDEm4p2Wo1ysdwbhlb2jDhD+wdHNbe2cK1yRxQorrWLYDxqhlyw7PUyv3E9EDA2C6srrmPE0s29J4mhfY40ip5KubX3LhWE+
   +mjVmpCUZw==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BYVPSVCF]]_Fri,-26-May-2023-08-10-57-GMT.mhtml

   Hash (SHA256)
   5f033b4f36f67389918df1e52169fe265c4863979a654762ae2d9be3ee057626

   Signature (PKCS#1v1.5)
XMNubSHRqOmnMazGykU0hsEvwzvRsapIRTEBjkK9dm2JZGuw5/VU2rLykcpW6nyVNMSGV6nZ0wgeiYBZhsPauDN9KAiQKstygO/P7HUcA4je3TGB3FYYcu8JX+eLvNQFe4k/8wBw0abBLG3+FOKw7cedaCs7iGQBhWdJgXgFOdHFKlOMc5r28wkKEbCqlnMcrJKYm9K+Jz4pyxN4bh
+W0rRL262QGA+Y1hbnh9KixGltYG37sXRO0mwktETxebPqvEM3R0d/qlWqjv+qjAz6A8Tj760OkW6gVqQcRo10Wn7F06zZb2iovP3myBIrC9fr71RvEckF7bV4D2XTS3ugmQ==
                                                                               Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 35 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Cowboy Bebop Radical Ed Smiley Face Patch - Funny Tactical Military Morale Embroidered Patch Hook Fastener Backing

   URL
   https://www.amazon.com/Cowboy-Bebop-Radical-Smiley-Patch/dp/B08NZ7C7MP/ref=sr_1_201

   Collection Date
   Wed, 26 Apr 2023 07:52:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VJcen9pKquMgQiDbWpnK+QUl2+M6biZQk9tm+ONaXQAAyDx3b0m2igCmvkCZzIeunu5iHYhWdzAVIvaxxkLtsFeJjEVbysWuWldCzFJGVbqVZwXSigNEA1YWJZB9izuBJbUoZ0JUzU3ZwswjI/R1gsOUZ+SpHsIgmkDOIrL6Xz0=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Cowboy-Bebop-Radical-Smiley-Patch[fs]dp[fs]B08NZ7C7MP[fs]ref=sr_1_201]]_Wed,-26-Apr-2023-07-52-09-GMT.pdf

   Hash (SHA256)
   b69a5003144f6b527d2daaf1721be08dbf66311e8cad232ea53f0aa3ac3b7340

   Signature (PKCS#1v1.5)
l4Ggy/ACE2JYd7l6x+3GYqbd61Qr9BOfXthX2LMrnqs1Ma1ukejk2zhgXOWpC8i7fwDu9nCMlB50wncOvVWX85F934+hjpNFzKC2r8fG7+RThkvRs0R64rCUhjGCtSAtrlLLirCEQ0I7LAzgX97wUa6m8+GkjYwDgX5wRx4l3KQ=
                                                                                Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 36 of 40



                                                                                                                                                                                                                     Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 01 Jun 2023 16:14:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OGbsbxcSh39GsCDxRI65Lt0wcz36dEQjGifZjHfKT9kVaMLFnugbtAmu/1Ux4O8QHbCtS8Jgq8VmPePIZpuLifRG3MHaWzIX0zHINlrtnIePKwRhmNli6T/pEc7j0bpESSH9LW/5C3FcwtG+4Re9tmhgAvicMSiTcZ/YfrSEgnlFZiip5qcSJPT63dR/1aI4kGTVnX5zzT1J+MoDvuPZrb7u4iMa
   +9rTBTnMlZKpCZHhCE2Xr7oPN/i77GuaTotf9ODMoF8ptn9GADw/3gAmnzvGjpAeZSQs9NmiXklFAU87TVOyyGYdbXRdn9cLNP/vi8CdfCgwyCKSH5ayVPXAJA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-01-Jun-2023-16-14-37-GMT.mhtml

   Hash (SHA256)
   ba44be7f7c396ae3affca6776cb6d3991d59bf7ddc7617130cdc03ffbbd2089a

   Signature (PKCS#1v1.5)
GwfrLcdsj0lGiHvzGWhyUSpQqhJgoqFPKGxcCw2uebIzaZKZbju4K3dTElJOkDFPpwfD9HDkgFBZI90KHL+DGxi3BbN+dLSgnhtjOiD7LeYWMZWbLvLFGV0dEcL++Ss+UrN+ZdAqWmKig2CxskJaA5E6hrrWqjdYVRs8I4O5uM9jxAlWacAl+bIolUkiPEpeg2ZGqJWiRRGFOOCSU+SJAQvJv8R3p
+hT6EiyGU/qXpI1B1NdJ1AATS/5aRVbaQIYANW2SfcVHuuFKQJc0HLw4/Ait306lI7UNdTGx93aorLXb4/fXco0/4YrebP/bva8pY6Vr9+YQEPV5cefRkGqTg==
                                                                                 Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 37 of 40



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 08:53:36 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hbQjb3bfFlCDG2ZA95rocnbzYSrwvgMzZcaI1cEDoM/Jll76xphNHP0a3DS/GQhBU8vq27O4O/mZcZSLwPrqFVpaKxOxsjuEnzvBh7uw3ZvvikKh8v4qfoQEfl
   +tbGkDtulOadcx80RXMPdXmxa2DA1fgoqV7ztk60BYVEbiqyafnKPcOVLYhH5SlAaWVTeS99LPfly0lVLKbZlumiXRre0cz3LRjoPg1cZFzVwGANZ8V8QPCF465iUCmvvXvg2wSZWK9eBYR5+Yd62Uze44Hr/rxKBUsf0gHo2RfXmurVpjmdMIL9GJEh/QvjR+ldl2Jc4/CeIjHNC9ub/k7lYb1g==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-08-53-36-GMT.mhtml

   Hash (SHA256)
   5fc3a9c1e3005cfb7dd7d0b87214214ec8357eec73c7b6e6ebe26a4f2d2919af

   Signature (PKCS#1v1.5)
U7IkHVULqM6aJo1PJ+owmYKYAyqSXKbZaoEHLZTG4/XpFmqgsdVgjqKmp4Quh6WbyPa4uUc+ODBiQHBHIZk1vQUGkmPGXZ1Kn3aArnGxFfeDC6txQ0B0gy2Nv0upjKR0SKcRLTf85QoxaFAuKcPqdQWrJQmmrIDgvuBuYdJb6APd0HCG
+MJ0sarzHM/2yosn0f7HK61WCmkDb4+s1EZHomzLLvlBwdJnMN3GhnEoOjS0+u1XCR9iVUB37gphPZSaa5g9ldlXH0msaVJd45aIA23fB3fZMBaGKr1PkuAx1in8nOF7R49KHGcXsafzGuWDRZfCsoNsXHRtPYKJtu49yA==
                                                                              Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 38 of 40



                                                                                                                                                                                                                         Investigator Name: Sarah Christodoulou




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: Natural Pearl Choker Necklace With Handmade jewelry Smiley Face Star Fruit Unicorn Yin Yang Rainbow Polymer Clay Beads Handmake Necklace For Women Girls (punk Pearl Choker): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B0998DBJVY

   Collection Date
   Fri, 26 May 2023 09:50:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   dwSLBA5U3n4NaimsWjCp2zF0BMJgh3RVC5frvl9gLWezpzRq4UwF0S4CH5Ft1jT4unSYsGrn0zfJpMVeEWHQTJVqvmTiPxCDOUb8GAPpEt5hqsUIuKKXlhv12HJ4A6ave5rFq3Asnho0N8ixdaXDKPWyc7SV2ip46gm65T6XxOTkaAORrmxDGfe+KLfcSeKiCnuKU1/RI9JBazbgQrBnUvxv
   +rH9JUTPQKRYoGV17cMAIX5jNw7WUvK0r8C2Z7QzqhWimk2WntiN+rxG2/lIQuXEpOgE059BlwBjm7UK6XfMRugtRfRzVBv3lBd+JPNg8HSI5qZZ1QZfiFf6uacYmA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0998DBJVY]]_Fri,-26-May-2023-09-50-12-GMT.mhtml

   Hash (SHA256)
   d66ff3a3736b8e6913bd7dfcb7b251e1f4eb05adc77d8740cba4814e7723ac3a

   Signature (PKCS#1v1.5)
F8islVyCe+Y7U5nPjz5BPwZYlSC6wD+pzi5Ee7V9CXUR7+gy60YSDahYE6003GXoLy7yuVrLfS9NLK7srUbtW8A3kxARfi5+Imh5+hUlVTJ0bS/VQHlFSPICkmwKCWI0PWOPly/B/lxTpY+5LgeM1FvmZmgcexsnGB/VVCFGiucfCGy7uQqeBClsd09R/
nsGCStvKhpfnb7b2TejcqdKN4g4XoHEnBQ7PfzQTG36sJWkiFyikQxWySiB0XOUmsZoMOuDbWsQpgfEt1lVCk0Lvy+8/vFRYeJil+W2IAibes9AAdMuiL/gp1m58pM7CqgxcnqcjOYlp87R6mR2223EAw==
                                                                                Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 39 of 40



                                                                                                                                                                                          Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   American Trends Beanie Hats for Men Winter Hat Smiley Face Beanie Unisex Knit Winter Beanie Hats Cap Coffee Hat at Amazon Men’s Clothing store

   URL
   https://www.amazon.com/American-Trends-Beanie-Winter-Smiley/dp/B0BNH5L5LP/ref=sxin_17_pa_sp_search_thematic_sspa

   Collection Date
   Tue, 25 Apr 2023 09:51:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   J/mNrFiD3AiTxOwrEzaxeedaSyiSKC6xUffn3ca8f35FByzf5pO5ahsLxjY4GOzfFH5dVNRBksrUGHV/afXD9RH4H6WmmrRdgdIQaJf4C4s007UQ1fWjKJjBZ2CmVbvn4p37Hmu4fkJbA8jxpsJ/WSntPiBv4oRFhi22fIWSjPI=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]American-Trends-Beanie-Winter-Smiley[fs]dp[fs]B0BNH5L5LP[fs]ref=sxin_17_pa_sp_search_thematic_sspa]]_Tue,-25-Apr-2023-09-51-12-GMT.pdf

   Hash (SHA256)
   62f34c9cf5fbb426c41cc8f4f42bc417897602ed2498d747dba7e83f2754195a

   Signature (PKCS#1v1.5)
Jiun/Nc1HBt3MLM58mle0uRPuPmMrYIFlSHi+aI4Vynn+rUrLq1CHufYc6LBPgqYu3OPcW0KfZCR4EFj8LIrbZS8EDlihhO/bj0DfxF17jaELXIMhWIZbS/BOazB7EiIaiwbop0ZMfIUPa7azrlmDEJJ8E7jVQCOtlWQxAS8Ebs=
                                                                                Case 0:23-cv-61203-AHS Document 34-1 Entered on FLSD Docket 07/27/2023 Page 40 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 16:00:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HzVSef+wBLVpPC7PN+BASrGG66smVPfFuvlWf7/LEd2yICfmhWkbebZ6tPXQkErbq9W9o3yRLGdi8MIqKdnHgzTQ75JpwykPVCtTYBeiJZCxMHIjAmWnEyDys4tguKNeSzVJ6knye8ErUyrKggT1O7tkvNrKYPmMh80r6FqMOpokPIR74Qwk/
   tJqADiTdfbXQH0wrVdC3uemDYZuM9hs4RMQ6zaHAMuYWwMFBC0HYUSpvoMwmlO7fWOJ0FkL5frJ8b9kfVJ3e2Y8Ql7sxyf1uFMz4qjgLm2x17qlb4bIvD/4mjxUMXtKa9jDzfVHi7uOBsNQ5Mq+QEsIA6W4lYtvGA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-16-00-43-GMT.mhtml

   Hash (SHA256)
   33ae4f9cd71f9df7468dd08efb7678c04929cc543a6c812bd2738961e3109cf8

   Signature (PKCS#1v1.5)
QkOOvxmEA/6L6EI6u/chl5CoUt4aNPDIWN9A/Pjmw0LTznDLs6rr7JxgKgkgsWcuGrzLj5HJ6OMrN/au2LsYKr1cWYicv1CBkfKkqyxVcu5zFAeQ56h42TD9P9NuWsyfMn9tLFUDsfCLoOdaFK/bE9h90tZ+JLaQ2PeMFViQPWSZoGfQL+RA6AZxfGAQyfvmBJAnTNs6KMeDyGlG5YpzsfmdQ4LRK
+J4wfVXvGUCStALifKacdcizL4/Ae2rJ1WMCyBGgrbdJtvAWa9MClTHyZOMMaFs+xfke0HSgnBKFai6EkE6PzDxotvRdNOliPyzrKUwM4791p+YUf8xldcZgg==
